                                                                            CaseBANKRUPTCY
                                                                   UNITED STATES  19-11563-KBO
                                                                                           COURT                              Doc 793            Filed 02/10/20           Page 1 of 18
                                                                        DISTRICT OF DELAWARE


In re. Emerge Energy Services LP, et al.                                                                                                                 Case No. 19-11563
                                                                                                                                   Reporting Period: 12/1/2019 - 12/31/2019


                                                                        MONTHLY OPERATING REPORT
                                      File with Court and submit copy to United States Trustee within 20 days after end of month


Submit copy of report to any official committee appointed in the case.

                                                                                                               Document                Explanation Affidavit/Supplement
REQUIRED DOCUMENTS                                                                    Form No.                 Attached                Attached    Attached
Schedule of Cash Receipts and Disbursements                                           MOR-1                               X
   Bank Reconciliation (or copies of debtor's bank reconciliations)                   MOR-1a                                                 X
   Schedule of Professional Fees Paid                                                 MOR-1b                                                 X
   Copies of bank statements                                                                                                                 X
   Cash disbursements journals
Statement of Operations                                                               MOR-2                               X
Balance Sheet                                                                         MOR-3                               X
Status of Postpetition Taxes                                                          MOR-4                               X
  Copies of IRS Form 6123 or payment receipt                                                                                                 X
  Copies of tax returns filed during reporting period                                                                                        X
Summary of Unpaid Postpetition Debts                                                  MOR-4                               X
  Listing of aged accounts payable                                                    MOR-4                                                  X
Accounts Receivable Reconciliation and Aging                                          MOR-5                               X
Debtor Questionnaire                                                                  MOR-5                               X


This monthly operating report ("MOR") and all its related exhibits has been prepared using the Debtors' books and records as supplemented from other
sources such as bank statement and court authorized DIP cash budget information. The Debtors' books and records have not been audited by an outside,
independent accounting firm since the calendar year ended 2018. The ordinary preparation of financial statements inherently requires a company's
management to make reasonable estimates. This MOR submission includes information for Debtor entity Emerge Energy Services, LP (Case #19-11563) as
well as all other Debtor entities jointly administered under Case #19-11563 (Emerge Energy Services GP LLC: Case #19-11564, Emerge Energy Services
Operating LLC: Case #19-11565, Superior Silica Sands LLC: Case #19-11566, and Emerge Energy Services Finance Corporation: Case #19-11567). I
declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents are true and correct to the best of my knowledge and
belief.




Signature of Debtor                                                                   Date



Signature of Joint Debtor                                                             Date


/s/ Vanessa Gomez                                                                    10-Feb-20
Signature of Authorized Individual*                                                   Date


Vanessa Gomez                                                                         Chief Financial Officer
Printed Name of Authorized Individual                                                 Title of Authorized Individual



*Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor
                                                                                                                                                                                           MOR
is a partnership; a manager or member if debtor is a limited liability company.                                                                                                          (04/07)
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In re. Emerge Energy Services LP, et al.                                                       Case No. 19-11563
                                                                         Reporting Period: 12/1/2019 - 12/31/2019

                                 December Monthly Operating Report:
                                           Explanations and Clarifications
MOR 1 – SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
    The Schedule of Cash Receipts and Disbursements reflects all Debtor cash activity from 12/1/2019
    through 12/31/2019.
    The Master Funding Account is a bank account in the name of Emerge Energy Services LP.
    However, the Debtors' record and present this account as an asset on the balance sheet of Emerge
    Energy Services Operating LLC. After discussion with the Debtors’ accounting personnel,
    changing the presentation of this account would create a burden for the Debtors’. Therefore, the
    presentation of this account in this Monthly Operating Report (“MOR”) is consistent with the
    Debtors books and records.
    As described in detail in the Cash Management Order, all of the Debtors’ employees are employed
    by and paid salaries and wages from Emerge Energy Services GP, through that Debtors’ payroll
    account. For accounting purposes, employees (and related expenses) are assigned and presented
    based upon the nature of their job and duties to either debtor Superior Silica Sands LLC or debtor
    Emerge Energy Services Operating LLC. Funds are first transferred from Superior Silica Sands
    LLC to the Master Funding Account, with funds then transferred from the Master Funding
    Account to Emerge Energy Services GP for reimbursement with each bi-weekly payroll.
    Consistent with the Court’s order (Docket #195), the Debtors opened a new bank account for the
    purpose of holding adequate assurance deposits to select utility providers. The account was
    opened by Emerge Energy Services LP with Signature Bank (acct # ending 8517) on 7/29/2019.
    For accounting purposes, activity in the account and balances in the account are recorded on the
    books and records of Superior Silica Sands LLC and reported as Unrestricted Cash and
    Equivalents.
    The “Non-Cash Accounting Adjustments” reported on the statement of cash flows primarily
    relate to the reversal of accounting entries posted to the balance sheet prior to filing. The entry
    was generated by an accounts payable disbursement that was initiated but never paid out of the
    Emerge Energy Operating LLC checking account. The same transactions were initiated and
    actually paid out of a different account, but the original “duplicate” transactions were not voided
    until the following month.
    In lieu of providing copies of the bank statements, journals, and account reconciliations, the
    Debtors attest that bank reconciliations are performed for each cash accounts presented on the
    Debtors’ balance sheets. The Debtors retain bank statements for all open and active bank
    accounts. All cash disbursement activity is recorded in the Debtors’ general ledger.
MOR 2 – STATEMENT OF OPERATIONS
    The reported December Stub Period statement of operations reflects estimated performance for
    12/1/2019 through 12/20/2019, the Effective Date of the Company’s Plan of Reorganization.
    The Debtor’s assumed 20/31sts of the December full-month performance, excluding all post-
    emergence, restructuring-related entries, to approximate the Debtors’ performance during
    December. Further, there were retro-active accounting adjustments booked to post-petition
    periods that have been reflected in the cumulative filing-to-date statement of operations. These
    retroactive adjustments are non-cash, GAAP accounting adjustments related to rolling forward
    the 2018 Impairment and other retro-active correcting entries (as described further, below).




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    Reported sales figures are per the Debtors' books and records. The Debtors record revenue as
    customer orders are earned, depending on terms that may or may not be upon shipment. For
    example, if a customer orders 10,000 tons FOB destination, delivery may require 5 days. In this
    example the revenue from that sale is recorded on day 5, when the 10,000th ton is received by the
    customer. These sales figures may not match receipts because of differences between revenue
    recognition and cash receipt timing.
    As described in detail in the Cash Management Order and above, all of the Debtors’ employees are
    employed and paid by Emerge Energy Services GP through its payroll account. However, these
    funds are reimbursed to Emerge Energy Services GP by Superior Silica Sands LLC and Emerge
    Energy Services Operating LLC and expenses related to these transactions are presented on the
    income statement of each of these two debtors respectively.
    Professionals Fees reported on the Statement of Operations reflect professional fee accruals and
    not cash payments; professional fees will be paid consistent with Court ordered payment protocols.
    Reported financials do not reflect the impact of any potential 2019 write-offs.
MOR 3 – BALANCE SHEET
    The Closing Balance Sheet reflects estimated 12/20/2019 (Plan Effective Date) balances per the
    Debtors’ books and records. As such, reported Cash and Cash Equivalent Balances reported on
    MOR 3 will not match the reported ending balances on MOR 1.
    Debtor Superior Silica Sands LLC, Emerge Energy Services Operating LLC, and Emerge Energy
    Services LP are all borrowers under the pre-petition 1st lien ABL, 2nd Lien Secured Notes as
    well as the post-petition DIP credit facility. However, all debt and related interest is presented on
    the financial statements of debtor Emerge Energy Services Operating LLC.
    The Opening Balance Sheet and closing 12/20/2019 Balance Sheet amounts are estimated and
    reflect book values. Balance sheets are presented on a GAAP basis which may not be reflective of
    market values.
    The MOR reflects certain retroactive accounting adjustments to the Debtors’ books and records
    for periods prior to filing. These adjustments impact the Opening Balance Sheet and December
    month-end Balance Sheet of this MOR. No additional retroactive Opening Balance Sheet entries
    have been booked subsequent to the filing of the November MOR. A more detailed discussion of
    these adjustments is as follows:
        2018 Impairment: During the fourth quarter of 2018, the Company experienced a sharp
        decline in the demand for northern white sand, the primary product of its Wisconsin mines
        and plants. Accordingly, as part of its 2018 financial statement audit consistent with GAAP,
        the Company performed impairment testing of these assets which resulted in the Company
        recording a non-cash reduction of $105.6 million related to impairment of these long-lived
        assets. The Debtors, also as part of the 2018 financial statement audit, recorded impairment
        charges to select Northern White inventory amounts as of 12/31/2018. See the Debtors’ 10-K
        for the period ended 12/31/2018 filed with the SEC on 10/18/2019 for further discussion.
        Additional entries related to the 2018 Impairment were recorded in Q1, Q2, and Q3 2019.
        These entries reduced COGS (driven by the impaired Northern White inventory cost basis)
        and depreciation expense (driven by the impaired Northern White depreciable basis).




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        Other: The Debtors recorded a pre-petition obligation for Superior Silica Sands LLC in Q1
        and Q2 2019 associated with a take-or-pay shortfall penalty in connection with a contract that
        has been rejected by a final Court order (Docket #207). The Debtors reversed both a Q1 and
        Q2 2019 write-off of 1L Deferred Financing Costs from Emerge Energy Services Operating
        LLC.
        Lease Accounting: The Company has updated its books and records to reflect updated lease
        terms associated with the new railcar and amended terminal leases; these entries adjust
        certain accounting assets / liabilities (notably the “Right of Use Asset” and “Operating Lease
        Accounting Liability”), including removing the balances associated with the railcar leases
        that have been rejected by a final Court order (Docket #208). These line items are strictly
        accounting assets / liabilities and may not match balances reported elsewhere.
    Within owners’ equity, there is an item “Treasury Transactions with Emerge Energy Services
    Operating LLC”, which represents the Emerge Energy Services Operating LLC investment in
    Superior Silica Sands LLC.
    The Secured Debt balance was reduced by $16.3M on Emerge Energy Services Operating LLC’s
    balance sheet since filing as customer collections were treated as deemed draws on the DIP
    facility and deemed reductions to pre-petition Secured Debt, as required by the DIP agreement
    authorized the by Court on a final basis. Effective 8/31/2019, per an amendment to the DIP
    agreement, from the week ended 8/31/2019 forward no customer collections are treated as
    deemed draws on the DIP facility or as deemed reductions to pre-petition Secured Debt.
    The Debtors have stopped accruing interest on its books and records related to its pre-petition
    Secured Debt beginning in October. The Debtors have not entered retroactive adjustments to
    remove interest accrued in prior post-petition periods.
    Reported financials do not reflect the impact of any potential 2019 impairments.
MOR 4 – STATUS OF POST PETITION TAXES & SUMMARY OF UNPAID POSTPETITION
DEBTS
    All reported balances are estimated as of 12/20/2019, the Effective Date of the Debtors’ Plan of
    Reorganization. The reported figures are estimates; these figures are only finalized as part of the
    Debtors’ typical month-end close process, which would not report 12/20/2019 balances.
    Certain items listed as past due in the schedule of the Debtors’ post-petition debt aging relate to
    billed charges associated with contracts that have been rejected through Court order. The Debtors
    have recorded entries removing these obligations from their books and records. $41.3M of the
    $45.2M outstanding Emerge Energy Services Operating LLC post-petition debt is the DIP
    facility.
MOR 5 – ACCOUNTS RECEIVABLE RECONCILIATION AND AGING & DEBTOR
QUESTIONNAIRE
    All reported balances are estimated as of 12/20/2019, the Effective Date of the Debtors’ Plan of
    Reorganization. The reported figures are estimates; these figures are only finalized as part of the
    Debtors’ typical month-end close process, which would not report 12/20/2019 balances.
    Accounts receivable balances are reported on the Superior Silica Sands LLC balance sheet.
    Accounts Receivable receipts will not match the period revenue due to timing differences in the




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    recognition of revenue, which is recorded as customer orders are earned/completed, while
    receipts will lag, as receipts are typically received 30 days following invoice.
    The debtors have written off the $2.54 million 90+ day past due balance with EP Energy, LLC
    that were previously recorded as an uncollectible balance; EP was in breach of its contract with
    the Debtors. The Debtors filed a lawsuit against EP Energy, LLC seeking a judgement demanding
    payment of this balance. On 10/4/2019, EP Energy Filed for Chapter 11 Bankruptcy; the Debtors
    have submitted a claim in that case and is an unsecured creditor.
    As noted above, total stub period customer receipts reported on the Superior Silica Sands LLC
    MOR will not match the total amount that the pre-petition secured debt balance was reduced
    because of the customer collection reporting timing.




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                                                                                                                                                                                                               Case No. 19-11563
Debtor                                                                                                                                                                                   Reporting Period: 12/1/2019 - 12/31/2019
                                                            SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
Amounts reported are per the debtor's books, not the bank statement. The beginning cash is the ending cash from the prior month.
                                                                                                          BANK ACCOUNTS
Last 4 Acct #:                             5661                     5688                   5653             7237                    5725                      5012                   8517
Acct Entity:                               SSS                      SSS                    SSS              OpCo                    OpCo                      EES, GP                SSS / EES, LP          CURRENT
Acct Name:                                 Operating                Collections            A/P              Checking                Master Funding            Payroll                Utility Deposit        MONTH
CASH BEGINNING OF MONTH                    $           1,433,989    $             (744) $         (151,350) $           (146,048) $          9,997,970        $               173    $            199,500   $       11,333,490


RECEIPTS
CASH SALES                                 $                 -      $               -      $          -     $                -      $                 -       $               -      $                 -    $               -
ACCOUNTS RECEIVABLE                        $                 -      $         6,742,401    $          -     $                -      $                 -       $               -      $                 -    $         6,742,401
LOANS AND ADVANCES                         $                 -      $        10,029,803    $          -     $                -      $                 -       $               -      $                 -    $       10,029,803
SALE OF ASSETS                             $                 -      $               -      $          -     $                -      $                 -       $               -      $                 -    $               -
OTHER (ATTACH LIST)                        $                 -      $               -      $          -     $                -      $                 -       $               -      $                 -    $               -
TRANSFERS (FROM DIP ACCTS)                 $           5,047,221                           $      254,821   $          7,970,204    $       16,772,205        $         1,923,611    $                 -    $       31,968,061


  TOTAL RECEIPTS                           $           5,047,221    $        16,772,205    $      254,821   $          7,970,204    $       16,772,205        $         1,923,611    $                 -    $       48,740,266
DISBURSEMENTS
NET PAYROLL                                $                 -      $               -      $          -     $                -      $                 -       $         (1,451,425) $                  -    $        (1,451,425)
PAYROLL TAXES                              $                 -      $               -      $          -     $                -      $                 -       $          (175,421) $                   -    $          (175,421)
SALES, USE, & OTHER TAXES                  $             (21,287) $                 -      $       (21,144) $                -      $                 -       $               -      $                 -    $           (42,431)
INVENTORY PURCHASES                        $                 -      $               -      $          -     $                -      $                 -       $               -      $                 -    $               -
SECURED/ RENTAL/ LEASES                    $                 -      $               -      $       (47,274) $                -      $                 -       $               -      $                 -    $           (47,274)
INSURANCE                                  $                 -      $               -      $          -     $                -      $                 -       $               -      $                 -    $               -
ADMINISTRATIVE                             $             (10,552) $                 -      $          -     $           (507,956) $                   -       $               -      $                 -    $          (518,508)
SELLING                                    $                 -      $               -      $          -     $                -      $                 -       $               -      $                 -    $               -
CapEx                                      $             (90,979) $                 -      $          -     $                -      $                 -       $               -      $                 -    $           (90,979)
Interest / Fees                            $            (776,698)                          $          -     $           (118,650) $              (2,703) $                    -      $                 -    $          (898,051)
OTHER (Attach Schedule)                    $           (3,845,237) $                -      $      (345,460) $           (398,371) $                   -       $               -      $                 -    $        (4,589,069)


OWNER DRAW *                               $                 -      $               -      $          -     $                -      $                 -       $               -      $                 -    $               -
TRANSFERS (TO DIP ACCTS)                   $                 -      $       (16,772,205) $            -     $                -      $      (15,195,856) $                     -      $                 -    $       (31,968,061)


PROFESSIONAL FEES                          $                 -      $               -      $          -     $          (6,798,019) $                  -       $               -      $                 -    $        (6,798,019)
U.S. TRUSTEE QUARTERLY FEES                $                 -      $               -      $          -     $                -      $                 -       $               -      $                 -    $               -
COURT COSTS                                $                 -      $               -      $          -     $                -      $                 -       $               -      $                 -    $               -
TOTAL DISBURSEMENTS                        $           (4,744,754) $        (16,772,205) $        (413,877) $          (7,822,996) $       (15,198,559) $               (1,626,846) $                  -    $       (46,579,238)
                                           $            4,737,369
NET CASH FLOW                              $             302,467    $                   (0) $     (159,056) $            147,207    $        1,573,645        $           296,764    $                 -    $         2,161,028
(RECEIPTS LESS DISBURSEMENTS)



Non-Cash Accounting Adjustments                                     $              106     $        2,140                           $                      (0) $              -      $                 -    $             2,246
CASH - END OF MONTH                        $           1,736,456    $             (637) $         (308,267) $              1,160    $       11,571,615        $           296,937    $            199,500   $       13,496,764
* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH                              ACTUAL COLUMN)
TOTAL DISBURSEMENTS                 $     4,744,754 $    16,772,205 $     413,877                            $      7,822,996 $              15,198,559       $          1,626,846   $                 -    $        46,579,238
 LESS: TRANSFERS TO DEBTOR IN
 POSSESSION ACCOUNTS                $           -   $   (16,772,205) $        -                             $                 -     $       (15,195,856) $                     -     $                 -    $        (31,968,061)
 PLUS: ESTATE DISBURSEMENTS
 MADE BY OUTSIDE SOURCES (i.e. from
 escrow accounts)                   $           -   $           -    $        -                             $                 -     $                  -      $                -     $                 -    $                -
TOTAL DISBURSEMENTS FOR
CALCULATING U.S. TRUSTEE
QUARTERLY FEES                      $     4,744,754 $           -    $    413,877                           $           7,822,996   $                2,703    $          1,626,846   $                 -    $        14,611,177


                                                                                                                                                                                                                                    FORM MOR-1
                                                                                                                                                                                                                                         (04/07)
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                                                                                                                                                                                                               Case No. 19-11563
Debtor                                                                                                                                                                                   Reporting Period: 7/16/2019 - 12/31/2019
                                               SCHEDULE OF CUMULATIVE CASH RECEIPTS AND DISBURSEMENTS
Amounts reported are per the debtor's books, not the bank statement. The beginning cash is the ending cash from the prior month.
                                                                                                              BANK ACCOUNTS
Last 4 Acct #:                             5661                    5688                    5653               7237                    5725                    5012                   8517                     CUMULATIVE
Acct Entity:                               SSS                     SSS                     SSS                OpCo                    OpCo                    EES, GP                SSS / EES, LP            FILING
Acct Name:                                 Operating               Collections             A/P                Checking                Master Funding          Payroll                Utility Deposit          TO DATE
CASH BEGINNING OF MONTH                    $             708,825   $             506,629   $       (139,896) $             (468,792) $           102,547      $            72,889    $                 -      $         782,202


RECEIPTS
CASH SALES                                 $                 -     $                 -     $            -     $                 -     $                -      $               -      $                 -      $             -
ACCOUNTS RECEIVABLE                        $                 -     $        57,868,673     $            -     $                 -     $                -      $               -      $                 -      $     57,868,673
LOANS AND ADVANCES                         $                 -     $        23,979,803     $            -     $                 -     $                -      $               -      $                 -      $     23,979,803
SALE OF ASSETS                             $                 -     $                 -     $            -     $                 -     $                -      $               -      $                 -      $             -
OTHER (ATTACH LIST)                        $             472,106   $             222,223   $         83,783   $              9,201    $                345    $               810    $                 -      $         788,469
TRANSFERS (FROM DIP ACCTS)                 $       42,719,039      $             255,991   $      2,632,212   $          20,916,811   $       86,503,107      $         8,745,575    $            454,750     $    162,227,485


  TOTAL RECEIPTS                           $       43,191,145      $        82,326,691     $      2,715,995   $          20,926,012   $       86,503,452      $         8,746,386    $            454,750     $    244,864,430
DISBURSEMENTS
NET PAYROLL                                $                 -     $                 -     $            -     $                 -     $                -      $         (7,228,020) $                  -      $      (7,228,020)
PAYROLL TAXES                              $                 -     $                 -     $            -     $                 -     $                -      $         (1,294,317) $                  -      $      (1,294,317)
SALES, USE, & OTHER TAXES                  $             (54,573) $                  -     $       (682,404) $             (121,126) $                 -      $               -      $                 -      $        (858,103)
INVENTORY PURCHASES                        $            (681,213) $                  -     $            -     $                 -     $                -      $               -      $                 -      $        (681,213)
SECURED/ RENTAL/ LEASES                    $             (32,000) $                  -     $       (237,261) $                  -     $                -      $               -      $                 -      $        (269,261)
INSURANCE                                  $            (538,717) $                  -     $            -     $              (4,865) $                 -      $               -      $                 -      $        (543,582)
ADMINISTRATIVE                             $            (312,144) $                  -     $        (11,739) $           (3,516,394) $                 -      $               -      $                 -      $      (3,840,276)
SELLING                                    $                 -     $                 -     $            -     $                 -     $                -      $               -      $                 -      $             -
CapEx                                      $            (758,015) $                  -     $        (18,626) $                  -     $                -      $               -      $                 -      $        (776,642)
Interest / Fees                            $           (1,764,254) $               (6,878) $            -     $          (1,700,232) $            (20,006) $                  -      $                 -      $      (3,491,369)
OTHER (Attach Schedule)                    $       (35,492,873) $                    -     $      (1,852,571) $          (1,788,833) $                 -      $               -      $                 -      $     (39,134,278)


OWNER DRAW *                               $                 -     $                 -     $            -     $                 -     $                -      $               -      $                 -      $             -
TRANSFERS (TO DIP ACCTS)                   $           (1,163,575) $       (82,828,010) $           (83,904) $           (2,966,151) $       (75,014,378) $                   -      $           (255,250)    $   (162,311,269)


PROFESSIONAL FEES                          $           (1,366,151) $                 -     $            -     $      (10,546,690) $                    -      $               -      $                 -      $     (11,912,840)
U.S. TRUSTEE QUARTERLY FEES                $                 -     $                 -     $            -     $            (280,562) $                 -      $               -      $                 -      $        (280,562)
COURT COSTS                                $                 -     $                 -     $            -     $                 -     $                -      $               -      $                 -      $             -
TOTAL DISBURSEMENTS                        $       (42,163,514) $          (82,834,888) $         (2,886,506) $      (20,924,853) $          (75,034,384) $             (8,522,337) $            (255,250)    $   (232,621,732)


NET CASH FLOW                              $           1,027,631   $             (508,198) $       (170,511) $                1,160   $       11,469,068      $           224,048    $            199,500     $     12,242,699
(RECEIPTS LESS DISBURSEMENTS)



Non-Cash Accounting Adjustments            $                 -     $                 931   $          2,140   $            468,792    $                    (0) $              -      $                 -      $         471,863
CASH - END OF MONTH                        $           1,736,456   $                (637) $        (308,267) $                1,160   $       11,571,615      $           296,937    $            199,500     $     13,496,764
* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)
TOTAL DISBURSEMENTS                 $   42,163,514 $   82,834,888 $    2,886,506 $  20,924,853 $                                               75,034,384     $          8,522,337   $             255,250    $     232,621,732
 LESS: TRANSFERS TO DEBTOR IN
 POSSESSION ACCOUNTS                $   (1,163,575) $ (82,828,010) $     (83,904) $ (2,966,151) $                                             (75,014,378) $                   -     $            (255,250)   $    (162,311,269)
 PLUS: ESTATE DISBURSEMENTS
 MADE BY OUTSIDE SOURCES (i.e. from
 escrow accounts)                   $          -    $         -    $         -    $        -    $                                                      -      $                -     $                 -      $              -
TOTAL DISBURSEMENTS FOR
CALCULATING U.S. TRUSTEE
QUARTERLY FEES                      $   40,999,939 $        6,878 $    2,802,601 $  17,958,702 $                                                   20,006     $          8,522,337   $                 -      $      70,310,463


                                                                                                                                                                                                                                    FORM MOR-1
                                                                                                                                                                                                                                         (04/07)
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In re. Emerge Energy Services LP, et al.                                                                                                                   Case No. 19-11563
Debtor                                                                                                                               Reporting Period: 12/1/2019 - 12/31/2019


                                               SCHEDULE OF OTHER CASH RECEIPTS
                                                                                                  BANK ACCOUNTS
Last 4 Acct #:                        5661            5688              5653             7237           5725           5012             8517
Acct Entity:                          SSS             SSS               SSS              OpCo           OpCo           EES, GP          SSS / EES, LP     CURRENT
Acct Name:                            Operating       Collections       A/P              Checking       Master Funding Payroll          Utility Deposit   MONTH
Returned ACH / Check                   $          -   $             -   $          -      $         -   $         -     $        -      $          -      $              -
Refund Received                        $          -   $             -   $          -      $         -   $         -     $        -      $          -      $              -
TOTAL OTHER DISBURSEMENTS              $          -   $             -   $          -      $         -   $         -     $        -      $          -      $              -


                                           SCHEDULE OF OTHER CASH DISBURSEMENTS
                                                                                                  BANK ACCOUNTS
Last 4 Acct #:                        5661            5688              5653             7237           5725           5012             8517
Acct Entity:                          SSS             SSS               SSS              OpCo           OpCo           EES, GP          SSS / EES, LP     CURRENT
Acct Name:                            Operating       Collections       A/P              Checking       Master Funding Payroll          Utility Deposit   MONTH
Other Production Costs                 $ (1,746,343) $              -   $      (170,078) $     (398,371) $        -     $        -      $          -      $       (2,314,793)
Logistics                              $     (892,000) $            -   $          -      $         -   $         -     $        -      $          -      $        (892,000)
Utilities                              $     (482,780) $            -   $      (175,382) $          -   $         -     $        -      $          -      $        (658,162)
Mining                                 $     (724,114) $            -   $          -      $         -   $         -     $        -      $          -      $        (724,114)
TOTAL OTHER DISBURSEMENTS              $ (3,845,237) $              -   $      (345,460) $     (398,371) $        -     $        -      $          -      $       (4,589,069)




                                                                                                                                                              FORM MOR-1
                                                                                                                                                                   (04/07)
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In re. Emerge Energy Services LP, et al.                                                                                                                      Case No. 19-11563
Debtor                                                                                                                                  Reporting Period: 7/16/2019 - 12/31/2019


                                   SCHEDULE OF CUMULATIVE OTHER CASH RECEIPTS
                                                                                      BANK ACCOUNTS
Last 4 Acct #:                        5661              5688              5653              7237           5725           5012             8517              CUMULATIVE
Acct Entity:                          SSS               SSS               SSS               OpCo           OpCo           EES, GP          SSS / EES, LP     FILING
Acct Name:                            Operating         Collections       A/P               Checking       Master Funding Payroll          Utility Deposit   TO DATE
Returned ACH / Check                   $      472,106   $         686
Refund Received                        $          -     $      221,538    $           -      $         -   $         -     $        123    $          -      $          221,660
TOTAL OTHER DISBURSEMENTS              $      472,106   $      222,223    $           -      $         -   $         -     $        123    $          -      $          694,452


                            SCHEDULE OF CUMULATIVE OTHER CASH DISBURSEMENTS
                                                                                     BANK ACCOUNTS
Last 4 Acct #:                        5661              5688              5653              7237           5725           5012             8517              CUMULATIVE
Acct Entity:                          SSS               SSS               SSS               OpCo           OpCo           EES, GP          SSS / EES, LP     FILING
Acct Name:                            Operating         Collections       A/P               Checking       Master Funding Payroll          Utility Deposit   TO DATE
Other Production Costs                 $ (15,738,542) $               -   $      (898,441) $ (1,788,833) $           -     $        -      $          -      $      (18,425,816)
Logistics                              $ (11,386,363) $               -   $          (614) $           -   $         -     $        -      $          -      $      (11,386,977)
Utilities                              $   (2,196,361) $              -   $      (953,516) $           -   $         -     $        -      $          -      $       (3,149,876)
Mining                                 $   (6,171,608) $              -   $           -      $         -   $         -     $        -      $          -      $       (6,171,608)
TOTAL OTHER DISBURSEMENTS              $ (35,492,873) $               -   $ (1,852,571) $ (1,788,833) $              -     $        -      $          -      $      (39,134,278)




                                                                                                                                                                 FORM MOR-1
                                                                                                                                                                      (04/07)
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In re. Emerge Energy Services LP, et al                     Case 19-11563-KBO                       Doc 793             Filed 02/10/20                 Page 10 of 18                                         Case No. 19-11563
 Debtor                                                                                                                                                                                Reporting Period: 12/1/2019 - 12/31/2019

                                                                         SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                                                   This schedule includes all retained professional payments from case inception to current month.

                                                                 Amount                                                                 Check                             Amount Paid                     Year-To-Date
                    Payee                 Period Covered        Approved                          Payor                         Number             Date              Fees          Expenses          Fees           Expenses
Ankura Consulting Group,LLC                     9/1-10/31   $     1,668,570   Emerge Energy Services Operating LLC               907, 958          12/5, 12/27   $    1,625,773 $       42,797   $    2,392,428 $        58,788
Kilpatrick Townsend & Stockton LLP                    n/a   $           -     Superior Silica Sands LLC                               n/a                  n/a   $          -   $          -     $      639,207 $         1,569
Latham & Watkins                                      n/a   $           -     Superior Silica Sands LLC                               n/a                  n/a   $          -   $          -     $      717,493 $         7,881
Latham & Watkins                                9/1-10/31   $     2,039,609   Emerge Energy Services Operating LLC               906, 930          12/5, 12/20   $    1,979,167 $       60,441   $    3,025,576 $        82,707
Potter Anderson & Corroon LLP                  7/30-10/31   $       168,389   Emerge Energy Services Operating LLC               910, 935          12/5, 12/20   $      154,610 $       13,778   $      335,540 $        20,654
Province, Inc                                   9/1-10/31   $       938,048   Emerge Energy Services Operating LLC               911, 955          12/5, 12/26   $      914,603 $       23,445   $    1,257,375 $        31,343
Richard Layton & Finger PA                      7/15-9/30   $       416,520   Emerge Energy Services Operating LLC               905, 953          12/5, 12/26   $      374,876 $       41,645   $      814,528 $        58,223
Kilpatrick Townsend & Stockton LLP             7/30-10/31   $     1,411,502   Emerge Energy Services Operating LLC               909, 934          12/5, 12/20   $    1,373,417 $       38,085   $    1,972,296 $        52,008
Miller Buckfire & Co., LLC                      9/1-10/31   $       155,381   Emerge Energy Services Operating LLC               912, 957          12/5, 12/26   $      150,000 $        5,381   $      350,000 $        95,221




                                                                                                                                                                                                              FORM MOR-1b
                                                                                                                                                                                                                    (04/07)
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In re. Emerge Energy Services LP, et al.                             Case 19-11563-KBO                           Doc 793                Filed 02/10/20          Page 11 of 18                                           Case No. 19-11563
Debtor                                                                                                                                                                                            Reporting Period: 12/1/2019 - 12/31/2019

                                                                                                   STATEMENT OF OPERATIONS
                                                                                                                 (Income Statement)

The Statement of Operations is prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                                                                                                                                          Month To Date
                                                                                   Superior Silica Sands
REVENUES                                                                           LLC                    EES Operating LLC                EES GP LLC      EES LP LLC         EES Finance Corp.   Elimination         Consolidated
Gross Revenues                                                                      $           3,935,353 $                 -              $          -    $          -       $            -      $              -    $        3,935,353
Less: Returns and Allowances                                                        $                  33 $                 -              $          -    $          -       $            -      $              -    $               33
Net Revenue                                                                         $           3,935,386 $                 -              $          -    $          -       $            -      $              -    $       3,935,386
COST OF GOODS SOLD
Beginning Inventory                                                                 $          16,276,427    $                      -      $          -     $             -   $            -      $              -    $       16,276,427
Add: Purchases                                                                      $             375,065    $                      -      $          -     $             -   $            -      $              -    $          375,065
Add: Cost of Labor                                                                  $             504,084    $                      -      $          -     $             -   $            -      $              -    $          504,084
Add: Other Costs (attach schedule)                                                  $            (141,812)   $                      -      $          -     $             -   $            -      $              -    $         (141,812)
Less: Ending Inventory                                                              $         (11,526,480)   $                      -      $          -     $             -   $            -      $              -    $      (11,526,480)
Cost of Goods Sold                                                                  $          (5,487,284)   $                      -      $          -     $             -   $            -      $              -    $       (5,487,284)
Gross Profit                                                                        $          (1,551,898)   $                      -      $          -     $             -   $            -      $              -    $       (1,551,898)
OPERATING EXPENSES
Advertising                                                                         $              (1,100)   $                     -       $          -     $             -   $            -      $              -    $           (1,100)
Auto and Truck Expense                                                              $              (3,776)   $                     -       $          -     $             -   $            -      $              -    $           (3,776)
Bad Debts                                                                           $               3,706    $                     -       $          -     $             -   $            -      $              -    $            3,706
Contributions                                                                       $                 -      $                     -       $          -     $             -   $            -      $              -    $              -
Employee Benefits Programs                                                          $             (37,347)   $                  (2,983)    $          -     $             -   $            -      $              -    $          (40,330)
Insurance                                                                           $            (170,019)   $                 (51,576)    $          -     $             -   $            -      $              -    $         (221,595)
Management Fees/Bonuses                                                             $                 -      $                 (44,809)    $          -     $             -   $            -      $              -    $          (44,809)
Office Expense                                                                      $            (117,813)   $                  (7,099)    $          -     $             -   $            -      $              -    $         (124,911)
Pension & Profit-Sharing Plans                                                      $                 -      $                     -       $          -     $             -   $            -      $              -    $              -
Repairs and Maintenance                                                             $                 -      $                     -       $          -     $             -   $            -      $              -    $              -
Rent and Lease Expense                                                              $             (26,687)   $                     -       $          -     $             -   $            -      $              -    $          (26,687)
Salaries/Commissions/Fees                                                           $            (294,540)   $                 (37,005)    $          -     $             -   $            -      $              -    $         (331,545)
Supplies                                                                            $              (4,435)   $                     -       $          -     $             -   $            -      $              -    $           (4,435)
Taxes - Payroll                                                                     $             (29,129)   $                    (720)    $          -     $             -   $            -      $              -    $          (29,849)
Taxes - Real Estate                                                                 $              23,912    $                     -       $          -     $             -   $            -      $              -    $           23,912
Taxes - Other                                                                       $                 -      $                     -       $          -     $             -   $            -      $              -    $              -
Travel and Entertainment                                                            $              (8,483)   $                 (10,215)    $          -     $             -   $            -      $              -    $          (18,699)
SG&A Utilities                                                                      $              (5,175)   $                     -       $          -     $             -   $            -      $              -    $           (5,175)
Other (attach schedule)                                                             $                (504)   $                 (22,819)    $          -     $             -   $            -      $              -    $          (23,323)
Total Operating Expenses Before Depreciation                                        $            (671,391)   $                (177,226)    $          -     $             -   $            -      $              -    $         (848,617)
Depreciation/Depletion/Amortization                                                 $            (543,702)   $                     (26)    $          -     $             -   $            -      $              -    $         (543,728)
Net Profit (Loss) Before Other Income & Expenses                                    $          (2,766,991)   $                (177,252)    $          -     $             -   $            -      $              -    $       (2,944,242)
OTHER INCOME AND EXPENSES
Other Income (attach schedule)                                                      $             (10,487)   $               (2,821,600) $            -     $             -   $            -      $       2,841,489   $            9,402
Interest Expense                                                                    $              (2,747)   $                 (268,842)                                                                              $         (271,589)
Other Expense (attach schedule)                                                     $             (16,426)   $                     (614) $            -     $             -   $            -      $             -     $          (17,040)
Net Profit (Loss) Before Reorganization Items                                       $          (2,796,650)   $               (3,268,307) $            -     $             -   $            -      $       2,841,489   $       (3,223,469)
REORGANIZATION ITEMS
Professional Fees                                                                   $             (44,839)   $                 (807,496)   $          -     $             -   $            -      $             -     $         (852,335)
U. S. Trustee Quarterly Fees                                                        $                 -      $                      -      $          -     $             -   $            -      $             -     $              -
Interest Earned on Accumulated Cash from Chapter 11 (see continuation sheet)        $                 -      $                      -      $          -     $             -   $            -      $             -     $              -
Gain (Loss) from Sale of Equipment                                                  $                 -      $                      -      $          -     $             -   $            -      $             -     $              -
Other Reorganization Expenses (attach schedule)                                     $                 -      $                      -      $          -     $             -   $            -      $             -     $              -
Total Reorganization Expenses                                                       $             (44,839)   $                 (807,496)   $          -     $             -   $            -      $             -     $         (852,335)
Income Taxes                                                                        $                 -      $                      -      $          -     $             -   $            -      $             -     $              -
Net Profit (Loss)                                                                   $          (2,841,489)   $               (4,075,803)   $          -     $             -   $            -      $       2,841,489   $       (4,075,803)

*"Insider" is defined in 11 U.S.C. Section 101(31).
                                                                                                                                                                                                                                 FORM MOR-2
                                                                                                                                                                                                                                      (04/07)
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In re. Emerge Energy Services LP, et al.                             Case 19-11563-KBO                           Doc 793                Filed 02/10/20           Page 12 of 18                                              Case No. 19-11563
Debtor                                                                                                                                                                                                Reporting Period: 7/16/2019 - 12/31/2019

                                                                                        STATEMENT OF CUMULATIVE OPERATIONS
                                                                                                                 (Income Statement)

The Statement of Operations is prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                                                                                                                                     Cumulative Filing to Date
                                                                                   Superior Silica Sands
REVENUES                                                                           LLC                   EES Operating LLC                 EES GP LLC      EES LP LLC            EES Finance Corp.   Elimination         Consolidated
Gross Revenues                                                                      $        42,073,806 $                  -               $          -    $          -          $            -      $              -    $       42,073,806
Less: Returns and Allowances                                                        $                 33 $                 -               $          -    $          -          $            -      $              -    $               33
Net Revenue                                                                         $        42,073,839 $                  -               $          -    $          -          $            -      $              -    $       42,073,839
COST OF GOODS SOLD
Beginning Inventory                                                                 $          17,671,511    $                      -      $          -     $             -      $            -      $              -    $        17,671,511
Add: Purchases                                                                      $          24,037,878    $                      -      $          -     $             -      $            -      $              -    $        24,037,878
Add: Cost of Labor                                                                  $           5,730,152    $                      -      $          -     $             -      $            -      $              -    $         5,730,152
Add: Other Costs (attach schedule)                                                  $          11,874,079    $                      -      $          -     $             -      $            -      $              -    $        11,874,079
Less: Ending Inventory                                                              $         (11,526,480)   $                      -      $          -     $             -      $            -      $              -    $       (11,526,480)
Cost of Goods Sold                                                                  $         (47,787,139)   $                      -      $          -     $             -      $            -      $              -    $       (47,787,139)
Gross Profit                                                                        $          (5,713,300)   $                      -      $          -     $             -      $            -      $              -    $        (5,713,300)
OPERATING EXPENSES
Advertising                                                                         $             (29,037)   $                      -      $          -     $             -      $            -      $              -    $           (29,037)
Auto and Truck Expense                                                              $             (54,684)   $                      -      $          -     $             -      $            -      $              -    $           (54,684)
Bad Debts                                                                           $            (265,338)   $                      -      $          -     $             -      $            -      $              -    $          (265,338)
Contributions                                                                       $                 -      $                      -      $          -     $             -      $            -      $              -    $               -
Employee Benefits Programs                                                          $            (299,504)   $                  (26,094)   $          -     $             -      $            -      $              -    $          (325,597)
Insurance                                                                           $            (989,080)   $                 (364,609)   $          -     $             -      $            -      $              -    $        (1,353,689)
Management Fees/Bonuses                                                             $                (476)   $                 (114,699)   $          -     $             -      $            -      $              -    $          (115,176)
Office Expense                                                                      $            (469,583)   $                  (61,141)   $          -     $             -      $            -      $              -    $          (530,723)
Pension & Profit-Sharing Plans                                                      $                 -      $                 (234,364)   $          -     $             -      $            -      $              -    $          (234,364)
Repairs and Maintenance                                                             $                 -      $                      -      $          -     $             -      $            -      $              -    $               -
Rent and Lease Expense                                                              $            (282,180)   $                      -      $          -     $             -      $            -      $              -    $          (282,180)
Salaries/Commissions/Fees                                                           $          (2,080,642)   $                 (283,263)   $          -     $             -      $            -      $              -    $        (2,363,905)
Supplies                                                                            $             (88,579)   $                     (231)   $          -     $             -      $            -      $              -    $           (88,810)
Taxes - Payroll                                                                     $            (132,127)   $                  (12,780)   $          -     $             -      $            -      $              -    $          (144,907)
Taxes - Real Estate                                                                 $            (292,643)   $                      -      $          -     $             -      $            -      $              -    $          (292,643)
Taxes - Other                                                                       $             (14,940)   $                   (4,126)   $          -     $             -      $            -      $              -    $           (19,066)
Travel and Entertainment                                                            $            (212,202)   $                  (21,718)   $          -     $             -      $            -      $              -    $          (233,920)
SG&A Utilities                                                                      $             (50,250)   $                      -      $          -     $             -      $            -      $              -    $           (50,250)
Other (attach schedule)                                                             $             (22,172)   $               (1,970,383)   $          -     $             -      $            -      $              -    $        (1,992,555)
Total Operating Expenses Before Depreciation                                        $          (5,283,437)   $               (3,093,408)   $          -     $             -      $            -      $              -    $        (8,376,844)
Depreciation/Depletion/Amortization                                                 $          (5,326,783)   $                     (326)   $          -     $             -      $            -      $              -    $        (5,327,110)
Net Profit (Loss) Before Other Income & Expenses                                    $         (16,323,520)   $               (3,093,734)   $          -     $             -      $            -      $              -    $       (19,417,254)
OTHER INCOME AND EXPENSES
Other Income (attach schedule)                                                      $             374,383    $           (16,511,262)      $          -     $             -      $            -      $      17,403,326   $         1,266,447
Interest Expense                                                                    $             (90,718)   $            (6,818,055)      $          -     $             -      $            -      $             -     $        (6,908,774)
Other Expense (attach schedule)                                                     $            (286,360)   $                  (735)      $          -     $             -      $            -      $             -     $          (287,094)
Net Profit (Loss) Before Reorganization Items                                       $         (16,326,215)   $           (26,423,786)      $          -     $             -      $            -      $      17,403,326   $       (25,346,675)
REORGANIZATION ITEMS
Professional Fees                                                                   $            (351,799)   $           (28,263,374)      $          -     $             -      $            -      $             -     $       (28,615,173)
U. S. Trustee Quarterly Fees                                                        $                 -      $                   -         $          -     $             -      $            -      $             -     $               -
Interest Earned on Accumulated Cash from Chapter 11 (see continuation sheet)        $                 -      $                   -         $          -     $             -      $            -      $             -     $               -
Gain (Loss) from Sale of Equipment                                                  $                 -      $                   -         $          -     $             -      $            -      $             -     $               -
Other Reorganization Expenses (attach schedule)                                     $                 -      $                   -         $          -     $             -      $            -      $             -     $               -
Total Reorganization Expenses                                                       $            (351,799)   $           (28,263,374)      $          -     $             -      $            -      $             -     $       (28,615,173)
Income Taxes                                                                        $                 -      $                   -         $          -     $             -      $            -      $             -     $               -
Net Profit (Loss)                                                                   $         (16,678,014)   $           (54,687,160)      $          -     $             -      $            -      $      17,403,326   $       (53,961,848)

*"Insider" is defined in 11 U.S.C. Section 101(31).
                                                                                                                                                                                                                                     FORM MOR-2
                                                                                                                                                                                                                                          (04/07)
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Debtor                                                                                                                                                                  Reporting Period: 12/1/2019 - 12/31/2019


                                                                              STATEMENT OF OPERATIONS - continuation sheet


                                                                                                                                      Month To Date
                                                                         Superior Silica        EES Operating
BREAKDOWN OF "OTHER" CATEGORY                                            Sands LLC              LLC                    EES GP LLC    EES LP LLC       EES Finance Corp. Elimination          Consolidated

Other Costs
Utilities                                                                 $         (339,920)   $               -                                                                             $        (339,920)
Logistics Expenses                                                        $          403,152    $               -                                                                             $         403,152
Equipment Leases                                                          $         (325,184)   $               -                                                                             $        (325,184)
Other Mining Expenses                                                     $       (1,175,066)   $               -                                                                             $      (1,175,066)
Applied Overhead                                                          $        1,578,830    $               -                                                                             $       1,578,830
Other Operational Expenses
Bank / Finance Charges                                                    $             (504)   $         (22,819)                                                                            $         (23,323)
Asset write-off                                                           $              -      $             -                                                                               $             -
Change in FV warrants                                                     $              -      $             -                                                                               $             -
Gain (Loss) from Sale of Equipment                                        $              -      $             -                                                                               $             -
Amortization of Deferred Finance Costs                                    $              -      $             -                                                                               $             -
Other Income
Interest Income                                                           $          (10,487) $            19,889                                                                             $             9,402
SSS Net Income                                                            $              -    $        (2,841,489)                                                      $        2,841,489    $               -
                                                                                                                                                                                              $               -
                                                                                                                                                                                              $               -
                                                                                                                                                                                              $               -
Other Expenses
Fines / Penalties                                                         $           (6,494)   $               -                                                                             $             (6,494)
Ordinary Course Legal Fees                                                $           (3,637)   $               -                                                                             $             (3,637)
Freight Broker Fees                                                       $              -      $               -                                                                             $                -
Donations                                                                 $              -      $               -                                                                             $                -
Accounting Adjs.                                                          $           (6,294)   $               -                                                                             $             (6,294)
Miscellaneous Expense                                                     $              -      $              (614)                                                                          $               (614)
Other Reorganization Expenses
Reorganization Items                                                      $                -                                                                                                  $                -
                                                                                                                                                                                              $                -
                                                                                                                                                                                              $                -
                                                                                                                                                                                              $                -
                                                                                                                                                                                              $                -
                                                                                                                                                                                              $                -
                                                                                                                                                                                              $                -
                                                                                                                                                                                              $                -
                                                                                                                                                                                              $                -
Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
bankruptcy proceeding, should be reported as a reorganization item.




                                                                                                                                                                                      FORM MOR-2 CONT'D
                                                                                                                                                                                                  (04/07)
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Debtor                                                                                                                                                                          Reporting Period: 7/16/2019 - 12/31/2019


                                                                 STATEMENT OF CUMULATIVE OPERATIONS - continuation sheet


                                                                                                                                        Cumulative Filing To Date
                                                                         Superior Silica        EES Operating
BREAKDOWN OF "OTHER" CATEGORY                                            Sands LLC              LLC                    EES GP LLC          EES LP LLC         EES Finance Corp. Elimination          Consolidated

Other Costs
Utilities                                                                 $       (3,129,252)   $               -      $            -       $            -    $            -    $               -     $      (3,129,252)
Logistics Expenses                                                        $       (7,196,707)   $               -      $            -       $            -    $            -    $               -     $      (7,196,707)
Equipment Leases                                                          $         (636,803)   $               -      $            -       $            -    $            -    $               -     $        (636,803)
Other Mining Expenses                                                     $       (8,460,192)   $               -      $            -       $            -    $            -    $               -     $      (8,460,192)
Applied Overhead                                                          $        7,548,876    $               -      $            -       $            -    $            -    $               -     $       7,548,876
Other Operational Expenses
Bank / Finance Charges                                                    $          (22,172)   $        (109,232)     $            -       $            -    $            -    $               -     $        (131,404)
Asset write-off                                                           $              -      $             -        $            -       $            -    $            -    $               -     $             -
Change in FV warrants                                                     $              -      $           7,256      $            -       $            -    $            -    $               -     $           7,256
Gain (Loss) from Sale of Equipment                                        $              -      $             -        $            -       $            -    $            -    $               -     $             -
Amortization of Deferred Finance Costs                                    $              -      $      (1,868,407)     $            -       $            -    $            -    $               -     $      (1,868,407)
Other Income
Interest Income                                                           $          374,383    $         163,808      $            -       $            -    $            -    $             -       $         538,191
SSS Net Income                                                            $              -      $     (16,675,070)     $            -       $            -    $            -    $      17,403,326     $         728,256
                                                                          $              -      $             -        $            -       $            -    $            -    $             -       $             -
                                                                          $              -      $             -        $            -       $            -    $            -    $             -       $             -
                                                                          $              -      $             -        $            -       $            -    $            -    $             -       $             -
Other Expenses
Fines / Penalties                                                         $          (10,977)   $               -      $            -       $            -    $            -    $               -     $         (10,977)
Ordinary Course Legal Fees                                                $         (226,038)   $               -      $            -       $            -    $            -    $               -     $        (226,038)
Freight Broker Fees                                                       $           (2,500)   $               -      $            -       $            -    $            -    $               -     $          (2,500)
Donations                                                                 $              103    $               -      $            -       $            -    $            -    $               -     $             103
Accounting Adjs.                                                          $          (46,947)   $               -      $            -       $            -    $            -    $               -     $         (46,947)
Miscellaneous Expense                                                     $              -      $              (735)   $            -       $            -    $            -    $               -     $            (735)
Other Reorganization Expenses
                                                                          $              -     $                -      $            -       $            -    $            -    $               -     $             -
                                                                          $              -     $                -      $            -       $            -    $            -    $               -     $             -
                                                                          $              -     $                -      $            -       $            -    $            -    $               -     $             -
                                                                          $              -     $                -      $            -       $            -    $            -    $               -     $             -
                                                                          $              -     $                -      $            -       $            -    $            -    $               -     $             -
                                                                          $              -     $                -      $            -       $            -    $            -    $               -     $             -
                                                                          $              -     $                -      $            -       $            -    $            -    $               -     $             -
                                                                          $              -     $                -      $            -       $            -    $            -    $               -     $             -
                                                                          $              -     $                -      $            -       $            -    $            -    $               -     $             -
Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
bankruptcy proceeding, should be reported as a reorganization item.




                                                                                                                                                                                              FORM MOR-2 CONT'D
                                                                                                                                                                                                          (04/07)
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Debtor                                                                                                                                                                                                                                                                                                   Reporting Period: 12/1/2019 - 12/31/2019

                                                                                                                                                                     BALANCE SHEET

The Balance Sheet is completed on an accrual basis only. Pre-petition liabilities are classified separately from postpetition obligations.

                                                                                                                                        BOOK VALUE AT END OF                                                                                                                   BOOK VALUE ON
                                  ASSETS                                                                                            CURRENT REPORTING MONTH                                                                                                                     PETITION DATE
                                                                                Superior Silica         EES Operating                                   EES Finance                                                  Superior Silica EES Operating                                         EES Finance
CURRENT ASSETS                                                                  Sands LLC               LLC                  EES GP LLC    EES LP LLC  Corp.                 Elimination         Consolidated        Sands LLC       LLC                     EES GP LLC       EES LP LLC   Corp.              Elimination     Consolidated
Unrestricted Cash and Equivalents                                                $         1,269,448     $     4,936,027     $         50,338    $        -      $       -   $            -      $         6,255,813 $     1,075,558 $     (366,245)         $      72,889    $            -      $      -    $          -    $       782,202
Restricted Cash and Cash Equivalents (see continuation sheet)                    $               -       $           -       $            -      $        -      $       -   $            -      $               -    $           -  $          -            $         -      $            -      $      -    $          -    $           -
Accounts Receivable (Net)                                                        $        12,139,682     $           -       $            -      $        -      $       -   $            -      $        12,139,682 $    17,518,454 $          -            $         -      $            -      $      -    $          -    $   17,518,454
Notes Receivable                                                                 $               -       $           -       $            -      $        -      $       -   $            -      $               -    $           -  $          -            $         -      $            -      $      -    $          -    $           -
Inventories                                                                      $        11,526,480     $           -       $            -      $        -      $       -   $            -      $        11,526,480 $    17,671,511 $          -            $         -      $            -      $      -    $          -    $   17,671,511
Prepaid Expenses                                                                 $         6,627,652     $     4,662,398     $            -      $        -      $       -   $            -      $        11,290,051 $     5,461,757 $      188,060          $         -      $            -      $      -    $          -    $    5,649,818
Professional Retainers                                                           $               -       $       437,316     $            -      $        -      $       -   $            -      $           437,316 $            -  $      620,781          $         -      $            -      $      -    $          -    $       620,781
Other Current Assets (attach schedule)                                           $           699,381     $   100,856,647     $        202,449    $      1,000    $       -   $   (100,248,111)   $         1,511,366 $     1,825,813 $ 113,842,435           $     202,449    $          1,000    $      -    $ (111,264,276) $    4,607,421
TOTAL CURRENT ASSETS                                                             $        32,262,643     $   110,892,388     $        252,787    $      1,000    $       -   $   (100,248,111)   $        43,160,708 $    43,553,094 $ 114,285,031           $     275,338    $          1,000    $      -    $ (111,264,276) $   46,850,186
PROPERTY AND EQUIPMENT
Real Property and Improvements                                                   $        87,924,693     $            -      $               -   $        -      $       -   $             -     $       87,924,693    $    81,905,812    $           -      $         -      $            -      $      -    $             -   $     81,905,812
Machinery and Equipment                                                          $        93,860,147     $            -      $               -   $        -      $       -   $             -     $       93,860,147    $    81,734,739    $           -      $         -      $            -      $      -    $             -   $     81,734,739
Furniture, Fixtures and Office Equipment                                         $         2,298,280     $        119,374    $               -   $        -      $       -   $             -     $        2,417,654    $     2,301,221    $       119,374    $         -      $            -      $      -    $             -   $      2,420,596
Construction in Progress                                                         $        11,578,008     $            -      $               -   $        -      $       -   $             -     $       11,578,008    $    29,162,591    $           -      $         -      $            -      $      -    $             -   $     29,162,591
Vehicles                                                                         $         2,535,173     $            -      $               -   $        -      $       -   $             -     $        2,535,173    $     2,535,173    $           -      $         -      $            -      $      -    $             -   $      2,535,173
Less Accumulated Depreciation                                                    $       (99,130,562)    $       (119,294)   $               -   $        -      $       -   $             -     $      (99,249,855)   $   (97,519,116)   $      (118,953)   $         -      $            -      $      -    $             -   $    (97,638,070)
TOTAL PROPERTY & EQUIPMENT                                                       $        99,065,739     $              80   $               -   $        -      $       -   $             -     $       99,065,819    $   100,120,419    $           421    $         -      $            -      $      -    $             -   $    100,120,841
OTHER ASSETS
Loans to Insiders*                                                               $               -       $            -      $               -   $        -      $       -   $             -     $              -      $           -      $           -      $         -      $            -      $      -    $             -   $            -
Other Assets (attach schedule)                                                   $        43,946,421     $      6,423,532    $               -   $        -      $       -   $             -     $       50,369,953    $   155,338,352    $     6,228,101    $         -      $            -      $      -    $             -   $    161,566,453
TOTAL OTHER ASSETS                                                               $        43,946,421     $      6,423,532    $               -   $        -      $       -   $             -     $       50,369,953    $   155,338,352    $     6,228,101    $         -      $            -      $      -    $             -   $    161,566,453

TOTAL ASSETS                                                                     $       175,274,803     $   117,316,001     $        252,787    $      1,000    $       -   $   (100,248,111) $        192,596,480    $   299,011,865    $   120,513,553    $     275,338    $          1,000    $      -    $ (111,264,276) $      308,537,480

                                                                                                                                          BOOK VALUE AT END OF                                                                                                                    BOOK VALUE ON
            LIABILITIES AND OWNER EQUITY                                                                                               CURRENT REPORTING MONTH                                                                                                                     PETITION DATE
LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
Accounts Payable                                   $                                       5,366,998     $     3,825,775     $          3,022    $        -      $       -   $             -     $        9,195,796    $           -      $           -      $         -      $            -      $      -    $             -   $               -
Taxes Payable (refer to FORM MOR-4)                $                                         486,996     $           -       $            -      $        -      $       -   $             -     $          486,996    $           -      $           -      $         -      $            -      $      -    $             -   $               -
Wages Payable                                      $                                       1,023,890     $        48,856     $       (213,700)   $        -      $       -   $             -     $          859,045    $           -      $           -      $         -      $            -      $      -    $             -   $               -
Notes Payable                                      $                                             -       $           -       $            -      $        -      $       -   $             -     $              -      $           -      $           -      $         -      $            -      $      -    $             -   $               -
Rent / Leases - Building/Equipment                 $                                             -       $           -       $            -      $        -      $       -   $             -     $              -      $           -      $           -      $         -      $            -      $      -    $             -   $               -
Secured Debt / Adequate Protection Payments        $                                             -       $    41,303,000     $            -      $        -      $       -   $             -     $       41,303,000    $           -      $           -      $         -      $            -      $      -    $             -   $               -
Professional Fees                                  $                                             -       $           -       $            -      $        -      $       -   $             -     $              -      $           -      $           -      $         -      $            -      $      -    $             -   $               -
Amounts Due to Insiders*                           $                                             -       $           -       $            -      $        -      $       -   $             -     $              -      $           -      $           -      $         -      $            -      $      -    $             -   $               -
Other Postpetition Liabilities (attach schedule)   $                                       8,546,693     $    11,616,587     $        462,705    $        -      $       -   $             -     $       20,625,985    $           -      $           -      $         -      $            -      $      -    $             -   $               -
TOTAL POSTPETITION LIABILITIES                     $                                      15,424,577     $    56,794,218     $        252,027    $        -      $       -   $             -     $       72,470,822    $           -      $           -      $         -      $            -      $      -    $             -   $               -
LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
Secured Debt                                       $                                      11,162,043     $   257,813,449     $               -   $       -       $       -   $             -     $      268,975,493    $    15,515,644    $   263,489,088    $         -      $           -       $      -                      $    279,004,732
Priority Debt                                      $                                             -       $           -       $               -   $       -       $       -   $             -     $              -      $       117,000    $           250    $         -      $           -       $      -    $             -   $        117,250
Unsecured Debt                                     $                                             -       $           -       $               -   $       -       $       -   $             -     $              -      $           -      $           -      $         -      $           -       $      -    $             -   $            -
Operating Lease Accounting Liability               $                                       2,431,689     $           -       $               -   $       -       $       -   $             -     $        2,431,689    $   118,480,762    $           -      $         -      $           -       $      -    $             -   $    118,480,762
Retirement Obligation Accounting Liability         $                                       2,932,010     $           -       $               -   $       -       $       -   $             -     $        2,932,010    $     2,881,253    $           -      $         -      $           -       $      -    $             -   $      2,881,253
Claims                                             $                                      43,077,372     $           -       $               -   $   177,948     $       -   $             -     $       43,255,320    $    48,675,323    $           -      $     274,578    $       177,948     $      -    $             -   $     49,127,849
TOTAL PRE-PETITION LIABILITIES                     $                                      59,603,115     $   257,813,449     $               -   $   177,948     $       -   $             -     $      317,594,512    $   185,669,982    $   263,489,338    $     274,578    $       177,948     $      -    $             -   $    449,611,846

TOTAL LIABILITIES                                                                $        75,027,692     $   314,607,667     $        252,027    $   177,948     $       -   $             -     $      390,065,334    $   185,669,982    $   263,489,338    $     274,578    $       177,948     $      -    $             -   $    449,611,846
OWNER EQUITY
Capital Stock                                                                    $        (7,597,281)    $   34,474,775 $                 -      $        -      $       -   $             -   $         26,877,493    $    (7,597,281)   $   34,102,536 $             -      $            -      $      -    $          -    $   26,505,255
Additional Paid-In Capital                                                       $       105,716,415     $          -    $              1,000    $        960                                  $        105,718,375    $   105,716,415    $          -    $          1,000    $            960    $      -    $          -    $ 105,718,375
Partners' Capital Account                                                        $               -       $          -    $                -      $        -      $       -   $            -    $                -      $           -      $          -    $            -      $            -      $      -    $          -    $          -
Owner's Equity Account                                                           $               -       $          -    $                -      $        -      $       -   $            -    $                -      $           -      $          -    $            -      $            -      $      -    $          -    $          -
Retained Earnings - Pre-Petition                                                 $       (43,787,271)    $ (177,404,749) $               (240)   $   (177,908)   $       -   $            -    $       (221,370,167)   $   (43,787,271)   $ (177,404,749) $           (240)   $       (177,908)   $      -    $          -    $ (221,370,167)
Retained Earnings - Postpetition                                                 $       (16,678,014)    $ (54,687,160) $                 -      $        -      $       -   $     17,403,326 $         (53,961,848)   $           -      $          -    $            -      $            -      $      -    $          -    $          -
Adjustments to Owner Equity (attach schedule)                                    $        62,593,262     $      325,467 $                 -      $        -      $       -   $   (117,651,437) $        (54,732,707)   $    59,010,020    $      326,427 $             -      $            -      $      -    $ (111,264,276) $ (51,927,829)
Postpetition Contributions (Distributions) (Draws) (attach schedul               $               -       $          -    $                -      $        -      $       -   $            -    $                -      $           -      $          -    $            -      $            -      $      -    $          -    $          -
NET OWNER EQUITY                                                                 $       100,247,111     $ (197,291,666) $                760    $   (176,948)   $       -   $   (100,248,111) $       (197,468,854)   $   113,341,883    $ (142,975,785) $            760    $       (176,948)   $      -    $ (111,264,276) $ (141,074,366)


TOTAL LIABILITIES AND OWNERS' EQUITY                                             $       175,274,803     $   117,316,001     $        252,787    $      1,000    $       -   $   (100,248,111) $        192,596,480    $   299,011,865    $   120,513,553    $     275,338    $          1,000    $      -    $ (111,264,276) $      308,537,480

*"Insider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                                                                                                                                                                                                                 FORM MOR-3
                                                                                                                                                                                                                                                                                                                                      (04/07)

                                                                                                                                                                        Page 15 of 18.
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Debtor
                                                                                                Case 19-11563-KBO                                             Doc 793                  Filed 02/10/20                                 Page 16 of 18                                                                                                    Case No. 19-11563
                                                                                                                                                                                                                                                                                                                                 Reporting Period: 12/1/2019 - 12/31/2019



                                                                                                                                                      BALANCE SHEET - continuation sheet

                                                                                                                                         BOOK VALUE AT END OF                                                                                                                           BOOK VALUE ON
                                           ASSETS                                                                                      CURRENT REPORTING MONTH                                                                                                                          PETITION DATE
                                                                                  Superior Silica       EES Operating                                                                                                         Superior Silica      EES Operating
Other Current Assets                                                              Sands LLC             LLC                 EES GP LLC       EES LP LLC       EES Finance Corp.   Elmination            Consolidated          Sands LLC            LLC                 EES GP LLC       EES LP LLC       EES Finance Corp.   Elmination              Consolidated
Transload Site Improvements                                                        $       1,021,442    $             -      $           -    $           -    $            -      $             -      $        1,021,442    $        1,774,951   $             -      $           -    $           -    $            -      $             -        $        1,774,951
Deferred Lease Asset - Current                                                     $             -      $             -      $           -    $           -    $            -      $             -      $              -      $           50,861   $             -      $           -    $           -    $            -      $             -        $            50,861
A/R Adjustments                                                                    $        (322,061)   $             -      $           -    $           -    $            -      $             -      $         (322,061)   $              -     $             -      $           -    $           -    $            -      $             -        $               -
Intercompany receivable - EMES GP                                                  $             -      $         462,705    $           -    $           -    $            -      $             -      $          462,705    $              -     $         204,047    $           -    $           -    $            -      $             -        $          204,047
Misc. Receivable                                                                   $             -      $         145,016    $           -    $           -    $            -      $             -      $          145,016    $              -     $         174,820    $       202,449 $            -    $            -      $             -        $          377,269
Misc Receivable - COBRA                                                            $             -      $           1,814    $           -    $           -    $            -      $             -      $            1,814    $              -     $           4,685    $           -    $           -    $            -      $             -        $             4,685
Investment in SSS                                                                  $             -      $      37,653,849    $           -    $           -    $            -      $     (37,653,849)   $              -      $              -     $      54,448,863    $           -    $           -    $            -      $     (52,253,256)     $        2,195,607
Treasury Transfer                                                                  $             -      $      62,593,262    $           -    $           -    $            -      $     (62,593,262)   $              -      $              -     $      59,010,020    $           -    $           -    $            -      $     (59,010,020)     $               -
Intercompany Receivable - EMES LP                                                  $             -      $             -      $       202,449 $            -    $            -      $             -      $          202,449    $              -     $             -      $           -    $           -    $            -      $             -        $               -
Investment in EES OLLC                                                             $             -      $             -      $           -    $         1,000 $             -      $          (1,000)   $              -      $              -     $             -      $           -    $         1,000                      $          (1,000)     $               -
Other Assets
Capitalized Leases                                                                 $      10,609,103    $             -     $            -     $          -    $            -     $              -      $       10,609,103    $       10,609,103   $             -     $            -    $           -    $            -     $                 -     $       10,609,103
Capitalized Reclaimation Costs                                                     $         878,900    $             -     $            -     $          -    $            -     $              -      $          878,900    $          964,400   $             -     $            -    $           -    $            -     $                 -     $          964,400
Intangibles, Net                                                                   $             -      $             -     $            -     $          -    $            -     $              -      $              -      $              -     $             -     $            -    $           -    $            -     $                 -     $              -
Asset Held for Sale                                                                $         292,480    $             -     $            -     $          -    $            -     $              -      $          292,480    $          292,480   $             -     $            -    $           -    $            -     $                 -     $          292,480
Reserves, Net                                                                      $      29,033,078    $             -     $            -     $          -    $            -     $              -      $       29,033,078    $       29,246,629   $             -     $            -    $           -    $            -     $                 -     $       29,246,629
LT Deferred Lease Asset                                                            $             -      $             -     $            -     $          -    $            -     $              -      $              -      $        9,438,612   $             -     $            -    $           -    $            -     $                 -     $        9,438,612
Security Deposits                                                                  $         694,871    $             -     $            -     $          -    $            -     $              -      $          694,871    $          444,912   $             -     $            -    $           -    $            -     $                 -     $          444,912
Right of Use Asset                                                                 $       2,437,989    $             -     $            -     $          -    $            -     $              -      $        2,437,989    $      104,342,216   $             -     $            -    $           -    $            -     $                 -     $      104,342,216
116625 Trust                                                                       $             -      $       5,443,953   $            -     $          -    $            -     $              -      $        5,443,953    $              -     $       5,443,953   $            -    $           -    $            -     $                 -     $        5,443,953
116638 Trust                                                                       $             -      $         771,227   $            -     $          -    $            -     $              -      $          771,227    $              -     $         771,227   $            -    $           -    $            -     $                 -     $          771,227
116626 Trust                                                                       $             -      $             -     $            -     $          -    $            -     $              -      $              -      $              -     $             -     $            -    $           -    $            -     $                 -     $              -
Escrow - Other                                                                     $             -      $         208,352   $            -     $          -    $            -     $              -      $          208,352    $              -     $          12,921   $            -    $           -    $            -     $                 -     $           12,921

                                                                             BOOK VALUE AT END OF                                                                                                                                                                                       BOOK VALUE ON
                  LIABILITIES AND OWNER EQUITY                             CURRENT REPORTING MONTH                                                                                                                                                                                      PETITION DATE
Other Postpetition Liabilities
Accrued Expenses                                                                   $       6,899,610    $      11,616,587   $            -     $          -    $            -     $              -      $       18,516,197    n/a                  n/a                 n/a               n/a              n/a                n/a                     n/a
Accrued Tax                                                                        $       1,283,442    $             -     $            -     $          -    $            -     $              -      $        1,283,442    n/a                  n/a                 n/a               n/a              n/a                n/a                     n/a
Accrued Royalties                                                                  $          72,549    $             -     $            -     $          -    $            -     $              -      $           72,549    n/a                  n/a                 n/a               n/a              n/a                n/a                     n/a
Accrued Road Maintenance Fee                                                       $          27,913    $             -     $            -     $          -    $            -     $              -      $           27,913    n/a                  n/a                 n/a               n/a              n/a                n/a                     n/a
Accrued Sand Processing                                                            $         161,253    $             -     $            -     $          -    $            -     $              -      $          161,253    n/a                  n/a                 n/a               n/a              n/a                n/a                     n/a
Accrued Trucking                                                                   $         101,926    $             -     $            -     $          -    $            -     $              -      $          101,926    n/a                  n/a                 n/a               n/a              n/a                n/a                     n/a
Accrued Rail Freight                                                               $             -      $             -     $            -     $          -    $            -     $              -      $              -      n/a                  n/a                 n/a               n/a              n/a                n/a                     n/a
Accrued Director Fees                                                              $             -      $             -     $            -     $          -    $            -     $              -      $              -      n/a                  n/a                 n/a               n/a              n/a                n/a                     n/a
Accrued Legal Fees                                                                 $             -      $             -     $            -     $          -    $            -     $              -      $              -      n/a                  n/a                 n/a               n/a              n/a                n/a                     n/a
Accrued Accounting Fees                                                            $             -      $             -     $            -     $          -    $            -     $              -      $              -      n/a                  n/a                 n/a               n/a              n/a                n/a                     n/a
Warrants                                                                           $             -      $             -     $            -     $          -    $            -     $              -      $              -      n/a                  n/a                 n/a               n/a              n/a                n/a                     n/a
Intercompany Payable                                                               $             -      $             -     $        462,705   $          -    $            -     $              -      $          462,705    n/a                  n/a                 n/a               n/a              n/a                n/a                     n/a
Adjustments to Owner Equity
Treasury Transactions with Emerge Energy Services Operating LLC                    $      62,593,262    $            -      $            -     $          -    $            -     $              -      $       62,593,262    $       59,010,020   $             -     $            -    $           -    $            -     $                -      $       59,010,020
Short Swing Profit Disgorgement                                                    $             -      $        326,427    $            -     $          -    $            -     $              -      $          326,427    $              -     $         326,427   $            -    $           -    $            -     $                -      $          326,427
Treasury Transfer - EMES LP                                                        $             -      $           (960)   $            -     $          -    $            -     $              -      $             (960)   $              -     $             -     $            -    $           -    $            -     $                -      $              -
Elimination                                                                        $             -      $            -      $            -     $          -    $            -     $     (117,651,437)   $     (117,651,437)   $              -     $             -     $            -    $           -    $            -     $       (111,264,276)   $     (111,264,276)
Postpetition Contributions (Distributions) (Draws)
                                                                                                                                                                                                        $              -                                                                                                                             $               -
                                                                                                                                                                                                        $              -                                                                                                                             $               -




Restricted Cash is cash that is restricted for a specific use and not available to fund operations. Typically, restricted cash is segregate
into a separate account, such as an escrow account.




                                                                                                                                                                                                                                                                                                                                         FORM MOR-3 CONT'D
                                                                                                                                                                                                                                                                                                                                                     (04/07)

                                                                                                                                                                     Page 16 of 18.
In re. Emerge Energy Services LP, et al.                                                             Case 19-11563-KBO                                          Doc 793                  Filed 02/10/20                        Page 17 of 18                                                                                     Case No. 19-11563
Debtor                                                                                                                                                                                                                                                                                                     Reporting Period: 12/1/2019 - 12/31/2019

                                                                                                                                                         STATUS OF POSTPETITION TAXES

The beginning tax liability is the ending liability from the prior month.




Superior Silica Sands LLC                  Beginning             Amount                                                                                         Ending                   Emerge Energy Services GP LLC    Beginning        Amount                                                                               Ending
                                           Tax                   Withheld or              Amount               Date                Check No.                    Tax                                                       Tax              Withheld or         Amount            Date            Check No.                      Tax
                                           Liability             Accrued                  Paid                 Paid                or EFT                       Liability                                                 Liability        Accrued             Paid              Paid            or EFT                         Liability
Federal                                                                                                                                                                                  Federal
Withholding                                $                -                                                                                                    $                 -     Withholding                       $           -    $            -     $            -                                                    $            -
FICA-Employee                              $                -                                                                                                    $                 -     FICA-Employee                     $           -                                                                                         $            -
FICA-Employer                              $                -                                                                                                    $                 -     FICA-Employer                     $           -    $      48,705.28   $       48,705.28 12/6 & 12/20    Payroll funding                 $            -
Unemployment                               $                -                                                                                                    $                 -     Unemployment                      $           -    $         127.66   $          127.66 12/6 & 12/20    Payroll funding                 $            -
Income                                     $                -                                                                                                    $                 -     Income                            $           -                                                                                         $            -
Other:_________________                    $                -                                                                                                    $                 -     Other: Medicare                   $           -    $      13,257.91   $       13,257.91 12/6 & 12/20    Payroll funding                 $            -
  Total Federal Taxes                      $                -     $                -      $            -                                                         $                 -       Total Federal Taxes             $           -    $      62,090.85   $       62,090.85                                                 $            -
State and Local                                                                                                                                                                          State and Local
Withholding                                $              -                                                                                                   $                    -     Withholding                       $           -    $            -                                                                       $            -
Sales                                      $       131,045.75     $          59,265.36    $        (713.25)           12/19/2019                    201600258 $             189,597.86   Sales                             $           -    $            -                                                                       $            -
Excise                                     $              -                                                                                                   $                    -     Excise                            $           -    $            -                                                                       $            -
Unemployment                               $              -                                                                                                   $                    -     Unemployment                                       $       1,640.87   $        1,640.87 12/6 & 12/20    Payroll funding                 $            -
Real Property                              $              -                                                                                                   $                    -     Real Property                     $           -    $            -                                                                       $            -
Personal Property                          $       387,390.93     $         (89,992.87)                    -                                                  $             297,398.06   Personal Property                 $           -    $            -                                                                       $            -
Other:_________________                    $              -                                                                                                   $                    -     Other:_________________                            $          31.20   $           31.20 12/6 & 12/20    Payroll funding                 $            -
  Total State and Local                    $       518,436.68     $         (30,727.51) $          (713.25)                                                   $             486,995.92     Total State and Local           $           -    $       1,672.07   $        1,672.07                                                 $            -
Total Taxes                                $       518,436.68     $         (30,727.51) $          (713.25)                                                   $             486,995.92   Total Taxes                       $           -    $      63,762.92   $       63,762.92                                                 $            -


                                                                                       Not Applicable for Emerge Energy Services Operating LLC, Emerge Energy Services Finance Corporation, and Emerge Energy Services LP, LLC



                                                                                                                                                SUMMARY OF UNPAID POSTPETITION DEBTS

Due to the voluminous amount of information required to fulfill the request for the Debtors' listing of aged accounts, a summary by Debtor has been provided.

Superior Silica Sands LLC                                                                            Number of Days Past Due                                                             Emerge Energy Services GP LLC                                                   Number of Days Past Due
                                           Current             0-30                       31-60            61-90             Over 90                           Total                                                      Current           0-30               31-60           61-90             Over 90                        Total
Total Postpetition Debts                    $     5,776,128.14 $            543,728.94     $    836,264.22 $     (47,244.93) $                    (230,992.11) $     6,877,884.26        Total Postpetition Debts          $   (210,678.39) $            -      $          -    $            -   $                         -     $    (210,678.39)

Emerge Energy Services Operating LLC                                                                 Number of Days Past Due
                                                                                                                                                                                                           Not Applicable for Emerge Energy Services Finance Corporation, and Emerge Energy Services LP, LLC
                                  Current            0-30                                 31-60            61-90             Over 90                           Total
Total Postpetition Debts           $   44,604,406.04 $                      692,694.05     $          0.00 $          (0.00) $                    (119,469.12) $     45,177,630.97

Explain how and when the Debtor intends to pay any past-due postpetition debts.
In the ordinary course through cash generated through operations or DIP financing.

*"Insider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                                                                                                                                                                                                            FORM MOR-4
                                                                                                                                                                                                                                                                                                                                 (04/07)

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In re. Emerge Energy Services LP, et al.                            Case 19-11563-KBO                  Doc 793        Filed 02/10/20     Page 18 of 18                                      Case No. 19-11563
Debtor                                                                                                                                                                Reporting Period: 12/1/2019 - 12/31/2019


                                                                                        ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


                                                                                                 Superior Silica     EES Operating                                 EES Finance
Accounts Receivable Reconciliation                                                               Sands LLC           LLC             EES GP LLC     EES LP LLC     Corp.                Total
Total Accounts Receivable at the beginning of the reporting period                                $ 14,261,119.79     $          -    $         -    $         -    $             -      $ 14,261,119.79
+ Amounts billed during the period                                                                $ 4,943,024.06      $          -    $         -    $         -    $             -      $ 4,943,024.06
- Amounts collected during the period                                                             $ (6,742,401.42)    $          -    $         -   $          -   $              -     $ (6,742,401.42)
Total Accounts Receivable at the end of the reporting period                                      $ 12,461,742.43    $           -   $          -   $          -   $              -     $ 12,461,742.43

                                                                                                 Superior Silica     EES Operating                                 EES Finance
Accounts Receivable Aging                                                                        Sands LLC           LLC             EES GP LLC     EES LP LLC     Corp.                Total
0 - 30 days old                                                                                   $ 10,655,363.25     $          -    $         -    $         -    $             -      $ 10,655,363.25
31 - 60 days old                                                                                  $    846,684.96     $          -    $         -    $         -    $             -      $     846,684.96
61 - 90 days old                                                                                  $     65,233.98    $           -   $          -   $          -   $              -     $       65,233.98
91+ days old                                                                                      $    894,460.24    $           -   $          -   $          -   $              -     $      894,460.24
Total Accounts Receivable                                                                         $ 12,461,742.43    $           -   $          -   $          -   $              -     $ 12,461,742.43
Amount considered uncollectible (Bad Debt)                                                        $   (322,060.78)   $           -   $          -   $          -   $              -     $     (322,060.78)
Accounts Receivable (Net)                                                                         $ 12,139,681.65    $           -   $          -   $          -   $              -     $ 12,139,681.65

                                                       DEBTOR QUESTIONNAIRE

Must be completed each month                                                                     Yes                 No
1. Have any assets been sold or transferred outside the normal course of business
                                                                                                                              
   this reporting period? If yes, provide an explanation below.
2. Have any funds been disbursed from any account other than a debtor in possession
                                                                                                                              
   account this reporting period? If yes, provide an explanation below.
3. Have all postpetition tax returns been timely filed? If no, provide an explanation
                                                                                                         
   below.
4. Are workers compensation, general liability and other necessary insurance
                                                                                                         
   coverages in effect? If no, provide an explanation below.
5. Has any bank account been opened during the reporting period? If yes, provide
   documentation identifying the opened account(s). If an investment account has been opened            
   provide the required documentation pursuant to the Delaware Local Rule 4001-3.                  (See MOR 1)
   See provided explanations and clarifications




                                                                                                                                                                                            FORM MOR-5
                                                                                                                                                                                                 (04/07)
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